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              NEW JERSEY             Re:     Brown v. Access Midstream Partners, L.P., et al., No. 14-cv-00591-
                NEW YORK                     MEM, and The Suessenbach Family Limited Partnership, et al. v.
           PENNSYLVANIA
                                             Access Midstream Partners, L.P., et al., No. 14-cv-01197-MEM
        WASHINGTON D.C.

               WISCONSIN
                              Dear Judge Mannion:

                                     After conferring with counsel for the parties, I write to provide the Court with an
                              update on the status of the Brown and Suessenbach actions.

                                      The parties were engaged in discovery during the latter part of 2015 with the goal
                              of substantially completing document production by the end of 2015. In connection with
                              that discovery process, the parties began discussing the potential resolution of these
                              actions before class certification briefing. To that end, the parties scheduled a mediation
                              before Judge Cahn to be held on December 10, 2015. In advance of that mediation, the
                              parties exchanged documents and information in aid of the mediation process, submitted
                              mediation statements, and held a day-long pre-mediation session to enhance the
                              productivity of the mediation itself.

                                      The day before the mediation, however, the Pennsylvania Attorney General filed
                              a purported parens patriae action against Chesapeake Energy Corporation
                              (“Chesapeake”), other Chesapeake affiliates, and Williams Partners, L.P. (formerly
                              Access Midstream Partners, L.P. (“Access”)) in the Court of Common Pleas of Bradford
                              County, Pennsylvania. Among the many claims in that broadly pleaded complaint, the
                              Attorney General asserted a claim on behalf of Pennsylvania lessors, alleging the same
                              purported misconduct and seeking the same restitution as in these Brown and
                              Suessenbach actions. The defendants filed preliminary objections to the Attorney
                              General’s complaint, and the Attorney General filed an amended complaint on February
                              8, 2016, against Chesapeake, its affiliates, and an additional industry defendant. The
                              amended complaint does not assert any claims against Access, and thus Access has been
                              effectively dismissed from the Attorney General’s lawsuit.

                                     In December 2015, the Attorney General also filed an objection to the pending
                              settlement in Demchak Partners Limited Partnership v. Chesapeake Appalachia, L.L.C.,
           Established 1849   No. 3:13-cv-2289, seeking to have the Court rewrite the settlement release agreed to by
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the Demchak parties after years of mediation and negotiation. The notion that the
Attorney General intends to interfere with settlement agreements between civil litigants
so that it can sue separately on behalf of the same lessors makes individually-negotiated
resolutions of these civil cases difficult.

        Because of the challenges created by the Attorney General’s conduct, we have
been working with counsel for the other parties to explore options for how best to
proceed in these Brown and Suessenbach cases. To address these issues, we respectfully
request a conference with the Court. At a minimum, the parties agree that the case
schedule must be extended, as discovery related to class certification had been interrupted
by intervening events and the deadline for class certification briefing is March 25, 2016.



                                                 Respectfully,



                                                 /s/ Seamus C. Duffy_________
                                                 Seamus C. Duffy
cc:    Peter A. Muhic, Esq.
       Michael D. Donovan, Esq.
       Robert D. Schaub, Esq.
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       (via ECF)
